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                          Exhibit 4
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   1                   IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
   2
            Civil Action No. 1:23-cv-03088-NYM-KAS
   3       ____________________________________________________________
   4        RIKKI McALISTER,
   5                   Plaintiff,
   6        vs.
   7        LGI HOMES CORPORATE, LLC,
   8                   Defendant.
           ____________________________________________________________
   9
                  REMOTE VIDEO DEPOSITION OF AREZKI ALEX HAMROUN
  10                                April 17, 2024
           ____________________________________________________________
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  25         Job No. CO6651409

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   1         APPEARANCES:
   2         ON BEHALF OF THE PLAINTIFF:
                      ADAM HARRISON, ESQ.
   3                  HKM Employment Attorneys LLP
                      518 17th Street, Suite 1100
   4                  Denver, Colorado 80202
                      Phone: 303-991-3075
   5                  Email: aharrison@hkm.com
   6         ON BEHALF OF THE PLAINTIFF:
                      JENNIFER WADHWA, ESQ.
   7                  3i Law
                      2000 S. Colorado Boulevard
   8                  Tower 1, Suite 10000
                      Denver, Colorado 80222
   9                  Phone: 303-747-6876
                      Email: jwadhwa@3ilawfirm.com
  10
             ON BEHALF OF THE DEFENDANT:
  11                  VANCE O. KNAPP, ESQ.
                      PATRICK COLLOPY, ESQ.
  12                  Fisher Phillips
                      1125 17th Street, Suite 2400
  13                  Denver, Colorado 80202
                      Phone: 303.218.3656
  14                  Email: vknapp@fisherphillips.com
                      Email: pcollopy@fisherphillips.com
  15
             ALSO PRESENT: Jerry DeBoer, Videographer
  16                       Kevin Wolf
  17
  18
  19
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  24
  25

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   1                              PURSUANT TO WRITTEN NOTICE and the
   2       appropriate rules of civil procedure, the remote video
   3       deposition of AREZKI ALEX HAMROUN, called for examination
   4       by the Defendant, was taken remotely, commencing at
   5       1:38 p.m. on April 17, 2024, before Laurel S. Tubbs, a
   6       Registered Professional Reporter, Registered Merit
   7       Reporter, Certified Realtime Reporter, and Notary Public
   8       in and for the State of Colorado.
   9                                     INDEX
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  11        By Mr. Knapp                                             5, 116
            By Mr. Harrison                                             107
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   1                           P R O C E E D I N G S

   2                         THE VIDEOGRAPHER:         Good afternoon.   We're

   3       going on the record at 1:38 p.m. Mountain Time on

   4       April 17th, 2024.     Please note that this deposition is

   5       being conducted virtually.         Quality of recording depends

   6       on the quality of camera, microphone, and internet

   7       connection of participants.          What is seen from the

   8       witness and heard on the screen is what will be recorded.

   9                         Audio and video recording will continue to

  10       take place unless all parties agree to go off the record.

  11                         This is Media Unit 1 of the video-recorded

  12       deposition of Arezki Alex Hamroun, taken by counsel for

  13       defendant in the matter of Rikki McAlister versus LGI

  14       Homes Corporate, LLC, filed in the United States District

  15       Court for the District of Colorado, Case Number

  16       1:23-cv-03088-NYM-KAS.

  17                         This deposition is being held remotely via

  18       Zoom.   My name is Jerry DeBoer, representing Veritext

  19       Legal Solutions, and I'm the videographer.            The court

  20       reporter is Laurel Tubbs for the firm of Veritext Legal

  21       Solutions.

  22                         I am not related to any party in this

  23       action, nor am I financially interested in the outcome.

  24                         Counsel and everyone attending remotely

  25       will now state their appearances and affiliations for the

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   1       record.   If there are any objections to proceeding,

   2       please state them at the time of your appearance,

   3       beginning with the noticing attorney.

   4                         MR. KNAPP:      Vance O. Knapp with the law

   5       firm Fisher Phillips, LLP on behalf of LGI Homes.

   6                         MR. COLLOPY:       And Patrick Collopy on

   7       behalf of defendant LGI Homes, also from Fisher Phillips.

   8                         THE REPORTER:       Mr. Harrison?

   9                         MR. HARRISON:       Adam Harrison representing

  10       Rikki McAlister, the plaintiff.

  11                         MS. WADHWA:      Jennifer Wadhwa, 3i Law, LLC,

  12       also representing the plaintiff, Rikki McAlister.

  13                            AREZKI ALEX HAMROUN,

  14       having been first duly sworn or affirmed, was examined and

  15       testified as follows:

  16                                  EXAMINATION

  17       BY MR. KNAPP:

  18                   Q.    Mr. Hamroun, my -- my name is Vance Knapp.

  19       I'm -- as I said earlier, I'm an attorney with the law

  20       firm of Fisher and Phillips.          And I represent LGI Homes in

  21       this case, who is the defendant.

  22                         When I'm referring to LGI Homes, I will

  23       say LGI or I'll refer to LGI Homes as the company.            Does

  24       that make sense?

  25                   A.    Sure.

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   1       sales office located?

   2                    A.      It's typically in the heart of the

   3       community.        Typically when you go in it's the

   4       first -- when you go into the community it is the first

   5       office that you're going to come across.

   6                    Q.      Now, is it an office, or is it a house?

   7                    A.      It is a house.        It is a house that is made

   8       up to be an office for us to do our work.              And then once

   9       we complete the project, once we complete the -- the --

  10       the project, yeah, that's the right word, then we -- we

  11       go ahead and sell the home.

  12                    Q.      And can you describe the floor plan of an

  13       LGI sales office?

  14                    A.      In most communities they're all the same.

  15       Most communities they're all the same.              They're a -- a

  16       ranch-style home.        As you go in the garage it's set up as

  17       what we call the boiler room.              That's where the

  18       salespeople do all the work, where they have their desks,

  19       their stations, their drawers, you know, everything else.

  20       That's where they do the bulk of the work.

  21                            And then in the middle there's one big

  22       giant living room, but, you know, it's like -- it's a

  23       showroom where there's typically four tables, and -- with

  24       all the boards hanging along the walls because we

  25       have -- we have a system where we have to take people

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   1       through the front.      And what we do -- the front

   2       end is -- what we call the front end is we explain to

   3       them what the company is all about, what we do and things

   4       of that nature.     But typically there's four tables.            So

   5       we can accommodate people when they come in through the

   6       door.

   7                         And then we have a kind of a kitchen and a

   8       nook.   There's a big -- big long table in the middle

   9       where, you know, it's like a kitchen table, if you will.

  10       And then, you know, the kitchen.            And then a bathroom

  11       just at the entrance by -- by the office manager.            No, by

  12       the -- yeah, by the office manager.

  13                         And then we have two other offices, like,

  14       in the middle with a door -- with a clear glass door.

  15       Those are typically where we conduct the loan

  16       applications when the loan officer -- we're able to come

  17       into the office and conduct those in person,

  18       face-to-face.

  19                         And then there's the office -- there's a

  20       manager's office as well, which is like the -- it is --

  21       it is typically the main suite, the main bedroom, the

  22       main bedroom because it has its en suite bathroom, but I

  23       have my desk, I have my easel, I have my boards where we

  24       track all sales and closings and everything else.

  25                   Q.    And so the burrow [sic] room, I believe

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   1       that you testified to earlier, sir, that the burrow room

   2       is where the sales representatives do their work.               Is

   3       there -- how -- that's -- that's a separate room.               How

   4       many doors or entrances are there to the burrow room?

   5                    A.   The boiler, boiler room.

   6                    Q.   Oh, boiler.         I'm sorry.

   7                    A.   The boiler room.            One, because the boiler

   8       room is the garage.

   9                    Q.   Is the garage?           But -- but, I mean, is it a

  10       functioning garage door?

  11                    A.   No.     No.    It's not like, there's a --

  12       there's a solid wall there between the garage door and

  13       the inside because the inside is finished with drywall

  14       and everything else, and we have windows, things of that

  15       nature.   But once we go ahead and put that home under

  16       contract, then we reconvert the -- that office into a

  17       real home by tearing down some walls and things like

  18       that, so we can make it functional for the next

  19       homeowner.

  20                    Q.   Now, is there a door to the boiler room?

  21                    A.   Yes.

  22                    Q.   And it -- during -- during the day, is that

  23       door always open, or is it sometimes closed?

  24                    A.   It is always open.

  25                    Q.   And from your office, do you have a glass

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  1       door on your -- on the sale -- the sales manager's office?

  2                    A.      Yeah, I have a glass door.

  3                    Q.      And do you keep your door open always?

  4                    A.      Always, 99 percent, unless -- 99 percent

  5       of the time unless I have somebody in my office.

  6                    Q.      Now, is -- is your door, is it a clear

  7       glass or is it frosted glass?

  8                    A.      It's a clear glass.

  9                    Q.      And do you have a direct line of sight from

 10       the desk in the sales manager's office to the boiler room?

 11                    A.      No.

 12                    Q.      And so I think you also said that the sales

 13       office has a kitchen.           What -- what is the kitchen used

 14       for in the sales office?

 15                    A.      It is used -- in the sales office it is

 16       used predominantly -- now, sometimes when we talk to

 17       people and show them the quality of work and craftsman --

 18       craftsmanship and the type of materials that we use in

 19       the -- in the homes, it's the same across the board, so

 20       we show them what type of granite we -- we use, and this

 21       is what we use for cabinets, this is what we use for

 22       flooring, things of that nature.

 23                            But for employees, they use it, you know,

 24       to warm up their meals or cook up their meals and things

 25       like that.        So -- because typically employees do not

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  1       leave on lunch breaks.          They do not leave to go -- see

  2       you in about a half hour, I'm going to grab me some

  3       lunch, because, frankly, the LGI system is designed for

  4       them not to leave.        It's not against the law for them to

  5       leave.   If they want to leave, they can.            But because of

  6       the nature of the -- the -- being competitive and stuff

  7       like that, they don't want to leave because of fear of

  8       missing out, fear of losing.             Because if they do leave,

  9       then they're going -- they're going to lose their turf.

 10       You know, they could leave --

 11                   Q.    Sales representatives, sir?

 12                   A.    Yes.

 13                   Q.    Is that what you're referring to?

 14                   A.    Mm-hmm.       Yes.     So they use the kitchen to

 15       get their meals and, you know, get something to eat and

 16       all that.    And once they get it done, you know, they go

 17       back to -- to the boiler room and eat it there

 18       while -- while they're manning the phones, while they're

 19       waiting for their turn.

 20                   Q.    And so when you were referring to people

 21       in -- in the kitchen that -- that -- and correct me if I'm

 22       wrong, the sales representatives would show people the

 23       finishes, like the countertops, the hardware, things like

 24       that, the people, are those customers that you're

 25       referring to?

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  1                   A.     Yeah.     Yeah.     Customers, yes.

  2                   Q.     And -- and in terms of lunch, would you

  3       also take your lunch in the kitchen, or would you ever go

  4       off site --

  5                   A.     Personally?

  6                   Q.     -- for lunch?        Yes.

  7                   A.     I've taken lunch outside the office.              But

  8       it was very seldom.        Very, very, very, seldom.         And in

  9       fact, I remember, you know, I've taken lunch outside the

 10       office mostly with my direct supervisor, my boss, Kevin

 11       Wolf, if he came over and -- and we did a -- a goal

 12       session or something like that, and we went out and had

 13       lunch somewhere close by.            But other than that, I mean,

 14       you know, I don't have any meetings outside with other

 15       people or -- to have lunch outside.               You know, I was

 16       constantly in the office.

 17                   Q.     And then -- and then I think you talked

 18       about the restrooms that -- that are in the sales office.

 19       So there's one in the sales manager's suite?

 20                   A.     Mm-hmm.     Yes.

 21                   Q.     And then how many other restrooms are in

 22       the sales office?

 23                   A.     There -- there is one at the front -- by

 24       the front door.      As soon as you come in, there's a little

 25       desk there.      That's for an office manager.           She's the

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  1       one -- she's the point of contact.                   She's the one who

  2       greets all the customers, and right next to -- next to

  3       that, there's a restroom.

  4                   Q.    And that's -- is that a unisex restroom?

  5                   A.    Yes.

  6                   Q.    And then the office manager -- what time

  7       does that person -- well, do they only work Monday through

  8       Friday?    I guess that's my --

  9                   A.    Yes.

 10                   Q.    -- first question.                And --

 11                   A.    Monday.

 12                   Q.    Oh, I'm sorry go ahead, sir.

 13                   A.    It's Monday through Friday from 8:30 in

 14       the morning until 5:00.

 15                   Q.    Okay.      Thank you.

 16                         And then who can use the restroom in the

 17       sales office?

 18                   A.    Anybody and everybody.

 19                   Q.    So that would include customers?

 20                   A.    Yes.

 21                   Q.    And sales representatives?

 22                   A.    Yes.     Are you referring to the -- to the

 23       restroom that is in my office?

 24                   Q.    Let's just talk about the one next to the

 25       other offices.

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  1                   A.    The one that's at front?

  2                   Q.    Yes.

  3                   A.    The one that's at front, yes.       Everybody.

  4                   Q.    And then -- and then was the restroom in

  5       your office just for you, or would you allow -- allow

  6       other people to use it?

  7                   A.    Yeah, I allowed people to use it.

  8       Salespeople, and then sometimes if there's a couple of

  9       people waiting to go to the restroom, so they can -- they

 10       can come into -- use the other one that's -- that's --

 11       that's in my office.         Yeah.

 12                   Q.    And did the sales representatives have to

 13       ask permission to use the restroom?

 14                   A.    Not really, no.           No.

 15                   Q.    And do you know how long a male sales

 16       representative would typically be in the restroom?

 17                   A.    Wow.     I never kept track of that.     I don't

 18       know.

 19                   Q.    And would that be the same for female sales

 20       representatives?     You didn't track how long they were in

 21       the restrooms?

 22                   A.    No, I -- frankly, I don't know.

 23                   Q.    And did you share your office with any

 24       other employees at LGI?

 25                   A.    No, sir.

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  1                   Q.    And I think that you said you had -- you

  2       had a work computer in your office, correct?

  3                   A.    Yes.

  4                   Q.    And what type of computer was it?             Was it a

  5       notebook computer, or a PC with a monitor?

  6                   A.    It's a PC with a monitor.

  7                   Q.    And how large was the monitor?

  8                   A.    It's a fairly large one.             I don't know.

  9       24.

 10                   Q.    Okay.      About 24 inches?

 11                   A.    Yeah, something like that, yeah.

 12                   Q.    And did your desk -- or where you sat

 13       behind your desk, did it face the door of your office.

 14                   A.    No, the monitor actually faced the wall.

 15       I had it off to the side.            And my -- my desk actually had

 16       nothing on it.     The front desk had nothing on it.             And it

 17       looked directly through the glass door.                And then my

 18       computer was off to the side.

 19                   Q.    And how much time per day, just an

 20       approximate, sir, would you say that you spent working on

 21       your computer in the sales office?

 22                   A.    It's different from one day to the next.

 23       But gosh, it's -- it's really hard to put a number on it.

 24                   Q.    Would it be -- would it be a couple of

 25       hours?   Would it be most of the day?               Or would it --

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  1                   A.    No, and --

  2                   Q.    Or just varies?

  3                   A.    No, it's definitely not most of the day.

  4       It's probably two to three hours a day on the computer.

  5       Sometimes more and sometimes less.

  6                   Q.    Now, in the boiler room, do the sales

  7       representatives have their own desks?

  8                   A.    Yes, they do.

  9                   Q.    Do they share their desks with anyone else?

 10                   A.    No, they have individual desks.

 11                   Q.    And do they have their own work computers?

 12                   A.    No.    There's one computer for the whole

 13       entire room.

 14                   Q.    And the sales representatives have to share

 15       that computer?

 16                   A.    Yes, they do.

 17                   Q.    So if the sales representatives wanted to

 18       look something up on the internet, could they use their

 19       own personal phones to do that?

 20                   A.    Well, they did.          But it was frowned upon

 21       because it came down one day saying that it's no longer

 22       allowed to use a tablet or a laptop or -- or whatnot.                So

 23       I definitely enforced that in the office where people

 24       were not allowed to use their own devices.

 25                   Q.    And when did -- when did that -- that

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  1                   A.     20 to 30 minutes.         And that includes,

  2       like, you know, the trash removal, the light

  3       cleaning -- light -- vacuum and light mopping, and then

  4       like, turning down the -- the -- the shades and turning

  5       off the lights and things.          So the whole entire thing is

  6       probably 20 minutes.

  7                          And refilling the -- the coffee -- the

  8       coffee things and -- the coffee holder.             And we have a

  9       little beverage fridge that we kept water, Coke, Diet

 10       Coke and Sprite for customers and for salespeople.                So we

 11       fill up the fridge as well.           So that's part of the

 12       closing duties.

 13                   Q.     Okay.   And are you familiar with the LGI

 14       way?

 15                   A.     I think so, if I -- if my mind is still

 16       there, yes.

 17                   Q.     Okay.   And can you just briefly describe

 18       what it is?      I know it's pretty detailed.         If you could

 19       just give us just a -- just a brief summary of what it is,

 20       that would be helpful.

 21                   A.     I'm not sure I understand the question.

 22       The LGI way.      Well, it could be lots of different things.

 23       I mean, are you talking about, like, the culture?

 24                   Q.     I'm talking about the sales process.

 25       What -- what are -- what are the sale representatives

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  1       tasked with in terms of the LGI way?

  2                   A.    Well, it all begins with, you know, the

  3       contact, whether it's -- let's take it, for instance,

  4       it's a phone call inquiry.          The LGI way, the LGI sales

  5       rep, you know, would get on the phone and call the

  6       customer or answer the phone and talk to them and get as

  7       much information up-front.          The goal is to set up an

  8       appointment with that -- with that customer.

  9                         Now, once we set up an appointment for --

 10       preferably for the weekend because we want to stack the

 11       showroom for the weekend to create a little bit of -- a

 12       little bit of urgency.        Now, once you -- once you set up

 13       an appointment with -- with a customer, on the Thursday,

 14       one of the tasks that we do after the training is I get

 15       together with every salesperson to give them an update on

 16       their loans, on their current loans on the board.

 17                         And then shortly after that, I go and have

 18       a short meeting with them about the phone calls that

 19       we're going to make.       We make phone calls from 6 to 7

 20       p.m. on Thursday to follow up with our current customers

 21       and give them their updates and whatnot, but we also

 22       confirm the appointments that we've made throughout the

 23       week, we confirm those appointments that we make for the

 24       Saturday or Sunday.      We make the phone calls and confirm

 25       those.

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  1                         And then on Sunday -- or Saturday, when

  2       they come in, when the customers start coming in, they're

  3       greeted at the door, sometimes by me, sometimes by a

  4       salesperson or something like that.               We bring them in, we

  5       set them down, and then we give them the welcome card

  6       that they're going to have to fill out -- not have to,

  7       but, you know, they're going to give us a little bit more

  8       information and all that.

  9                         And then the salesperson that made the

 10       appointment with them will come in and sit down with them

 11       and go over some stuff, asking questions what they're

 12       for -- what they're there for, what they're looking for,

 13       and what brought them in and this and that and the other.

 14       And -- and then explain to them about the LGI way and

 15       what we do.

 16                         And we give them the front end -- like I

 17       mentioned earlier, the front end is to go around the room

 18       and, you know, explain the company's policy, you know,

 19       and the company, what we do, thoroughly.               The first board

 20       is like the -- the lay of the land, you know, where we're

 21       located and -- and give them a couple of different

 22       pointers.     And then move on to the second board, you

 23       know, so on and so forth.

 24                         And then we sit down with them, and then

 25       we do a pre-qual.     When we do a pre-qualification it's

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  1       like a one-page print application, if you will.                 Then at

  2       that point the salesperson will go to that computer, they

  3       come to the computer that we have in the boiler room.

  4       They will run their information, and then we have the

  5       credit score, and then we have a cheat sheet basically.

  6       If we have a score above a certain -- a certain number,

  7       and we have enough income for them to qualify the

  8       front-end ratio or the back-end ratio after we -- we

  9       review their -- their debts and -- and whatnot and

 10       everything.    We go back and sit down with them and say

 11       Mr. and Mrs. Customer, congratulations, you do qualify

 12       for a home.    And are you excited?               You know, let's go and

 13       show you a home.

 14                         And we create urgency at that point.                We

 15       take them on a tour.       Then we're going to show them the

 16       community, you know.       We take them to -- we start at the

 17       very front where we have the monument, tell them -- tell

 18       them about the community, the advantages, what we have,

 19       you know, like the trails, you know, if we have a park,

 20       we take them to the park, spend a little bit of time with

 21       them.

 22                         And then along the way we ask all kinds of

 23       different questions, you know, try close -- that's what

 24       we call them try closes, like soft closes.                 And then

 25       after that we take them to the home itself.                 We spend a

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  1       little bit of time in the outside, take them to the

  2       backyard.     We explain everything about the property.          And

  3       then we take them inside of the house, turn on all the

  4       lights.     And then we give them a little bit of time to

  5       spend to mingle around the house if you will.          And

  6       then --

  7                    Q.   Let me ask you with that.       When you give

  8       them the time -- the customer that is, when you give the

  9       customer time to go around the house, is the sales

 10       representative walking them through the house, or does the

 11       sales representative leave them alone?

 12                    A.   You know, the LGI way is, like, when you

 13       go into the house, you turn on the lights and everything,

 14       and you tell them -- you tell them, okay, you know, go

 15       and check out the rooms and -- and the kitchen, you know,

 16       the bathrooms and whatnot and everything.          And we'll meet

 17       back here, you know, at the kitchen -- kitchen counter

 18       once you're done.

 19                         But there are some salespeople that like

 20       to go with their -- with their customers from one room to

 21       the next to the next.       So I guess it's -- it's different

 22       from one person to the next, but the LGI way, once you

 23       turn on the lights and everything, you just tell them,

 24       hey, just go and -- go check out the rooms and check out

 25       the bathroom and check out the garage and check out this

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  1       and that, and we'll reconvene here, I'll meet you back

  2       here at the kitchen here in the next few minutes when

  3       you're done.

  4                   Q.    Did you know -- oh, I'm sorry.            I didn't

  5       mean --

  6                   A.    No, no, I'm done.

  7                   Q.    Okay.    And -- and so, sir, did you know if

  8       Rikki McAlister would -- would turn on the lights and just

  9       tell the customer, oh, go and explore the house, or would

 10       she be one of those salespersons that would take the

 11       customer from room to room to room in the house?

 12                   A.    You know, I -- I had the privilege of

 13       working with Rikki McAlister closely at Pearson Park.

 14       And I went on tour with her because she was one of the

 15       salespeople that struggled when we opened that community

 16       up to the point where I left.            And we opened June 4th.

 17       Up to the first week of September she had not sold a

 18       house under my watch.

 19                         So she struggled.          And I took it up to

 20       my -- upon myself to work with her.               So I spent two solid

 21       months with her, July and August, where I worked closely

 22       with her every single day that she was there.               And she

 23       was there quite a lot.

 24                         And -- and I went on tour with her.            And I

 25       can tell you that she's one of the people that like to go

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  1                            REPORTER'S CERTIFICATE
  2
  3
  4                         I, Laurel S. Tubbs, a Registered
  5       Professional Reporter and Notary Public within the State
  6       of Colorado, do hereby certify that previous to the
  7       commencement of the examination, the deponent was duly
  8       sworn by me to testify to the truth.
  9                         I further certify that this deposition was
 10       taken in shorthand by me at the time and place herein set
 11       forth and thereafter reduced to a typewritten form; that
 12       the foregoing constitutes a true and correct transcript.
 13                         I further certify that I am not related
 14       to, employed by, nor of counsel for any of the parties or
 15       attorneys herein, nor otherwise interested in the result
 16       of the within action.
 17                         My commission expires October 26, 2027.
 18
 19                                  <%22402,Signature%>
                                  LAUREL S. TUBBS
 20                               Registered Professional Reporter
                                  Registered Merit Reporter
 21                               Certified Realtime Reporter
                                  and Notary Public
 22
 23
 24
 25

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